                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION


 INTERVARSITY CHRISTIAN
 FELLOWSHIP/USA, et al.,                               Civil Action No. 18-cv-00080

                Plaintiffs,
                                                       PLAINTIFFS’ MOTION FOR
   v.                                                  PARTIAL SUMMARY JUDGMENT

 THE UNIVERSITY OF IOWA, et al.,                       ORAL ARGUMENT REQUESTED

                Defendants.


   Pursuant to Federal Rule of Civil Procedure 56 and Local Rules 7 and 56, Plaintiffs

InterVarsity Christian Fellowship/USA and InterVarsity Graduate Christian Fellowship

(collectively, “InterVarsity”) move for summary judgment on the following claims: its Free

Speech Claims (Counts VII-VIII), Free Association Claim (Count VI), Free Exercise Claims

(Counts III-IV), and Religion Clause Claims (Counts I-II). See also Fed. R. Civ. P. 56(b) (“a party

may file a motion for summary judgment at any time until 30 days after the close of all discovery”).

I. Defendants infringed InterVarsity’s Free Speech, Freedom of Association, and Free
   Exercise rights without sufficient justification.

   A. Defendants infringed InterVarsity’s rights under the Free Speech Clause (Counts
      VII-VIII).

   Defendants have adopted a policy interpretation banning InterVarsity from accessing a forum

for speech, and their restriction is both unreasonable in light of the purposes of the forum and

discriminates against InterVarsity’s religious viewpoint.

   B. Defendants infringed InterVarsity’s right to freedom of association (Count VI).

   InterVarsity is an expressive association, and Defendants forbid InterVarsity from associating

with leaders who agree with and can express its religious viewpoints with integrity, which

significantly harms InterVarsity’s ability to express its viewpoints.
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   C. Defendants infringed InterVarsity’s rights under the Free Exercise Clause (Counts
      III-IV).

   Defendants policy interpretation discriminates against InterVarsity’s sincere religious beliefs

and religious exercise in a manner that is neither neutral nor generally applicable.

   D. Defendants cannot justify their infringements of InterVarsity’s rights.

   Defendants have not and cannot prove that their infringements on InterVarsity’s First

Amendment rights are narrowly tailored to a compelling government interest, and thus have

violated those rights under clearly established federal law.

II. Defendants’ interference with InterVarsity’s leadership selection violates the Religion
    Clauses (Counts I-II).

   InterVarsity is a religious group whose mission is marked by clear and obvious religious

characteristics, and its officers are its religious leaders who minister to its members, personify its

beliefs, and play an important role in conveying InterVarsity’s religious message and carrying out

its religious mission. Defendants accordingly violated InterVarsity’s clearly established rights

under the Free Exercise Clause to shape its own faith and mission through its appointments of

religious leadership, and its Establishment Clause right against government entanglement in the

same.

   IN SUPPORT OF THIS MOTION, InterVarsity has attached a Brief in Support of Partial

Summary Judgment, a Statement of Material Facts, and an Appendix. Contemporaneously with

this motion, and pursuant to Local Rule 7(h), InterVarsity is also filing a motion for leave to file

an overlength brief. Per Local Rule 5A(g)(8), InterVarsity is delivering a bound and tabbed paper

copy of all of these filings to the Court.

   InterVarsity requests oral argument on this motion.




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   WHEREFORE, InterVarsity requests that this Court grant summary judgment to InterVarsity

on the claims listed above, and:

   a. Declare and enter judgment that the First Amendment to the United States Constitution

       requires Defendants not to discriminate against InterVarsity or withhold registered status

       based on InterVarsity’s religious leadership selection policies;

   b. Declare and enter judgment that Defendants’ enforcement of the University’s policy

       against InterVarsity violated InterVarsity’s clearly established constitutional rights;

   c. Declare and enter judgment that the individual-capacity Defendants are personally liable

       for these violations and that their qualified immunity affirmative defense fails as it relates

       to these claims;

   d. Issue a permanent injunction prohibiting enforcement of the University’s Human Rights

       Policy against InterVarsity based on the content of InterVarsity’s religious leadership

       selection policies;

   e. Award InterVarsity nominal damages to which it is entitled by law;

   f. and set a trial for the determination of further damages against the individual-capacity

       Defendants.


                                              Respectfully submitted,

                                              /s/ Eric S. Baxter
                                              Eric S. Baxter*
                                                  Lead Counsel
                                              Daniel H. Blomberg*
                                              The Becket Fund for Religious Liberty
                                              1200 New Hampshire Ave. NW, Suite 700
                                              Washington, DC, 20036
                                              (202) 955-0095 PHONE
                                              (202) 955-0090 FAX
                                              ebaxter@becketlaw.org

                                              Christopher C. Hagenow
                                              Hagenow & Gustoff, LLP
                                                 3
600 Oakland Rd. NE
Cedar Rapids, IA 52402
(515) 868-0212 PHONE
(888) 689-1995 FAX
chagenow@whgllp.com

Counsel for Plaintiff
      *Admitted pro hac vice




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